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                           IN THE UNITED STATE DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ROME DIVISION

Melanie Hogan Sluder et al.,                                     )
                                                                 )
                  Plaintiffs,                                    )        Case No. 4:24-cv-00181
                                                                 )
v.                                                               )
                                                                 )
Rebecka Phillips, et al,                                         )
                                                                 )
                  Defendants.                                    )

                                   Consent Motion for Extension of Time

         Plaintiffs, by and through their attorneys, move this Honorable Court to extend their time to

file a Response to the Whitfield County District Attorney’s Motion to Quash Subpoena (ECF 77)

and a Reply in Support of their Motion to Compel (ECF 63).

         On January 22, 2025, Plaintiffs filed a Motion to Compel against the Georgia Bureau of

Investigation (GBI)1 and the Whitfield County District Attorney (Whitfield DA). ECF 63. On

February 14, 2025, the Whitfield DA filed a response, 76, and a related Motion to Quash, ECF 77.

Pursuant to Local Rule 7.1, Plaintiffs’ Reply re the Motion to Compel and Response to the Motion

to Compel are due 14 days subsequent to those filings, February 28, 2025.

         Plaintiffs’ lead counsel has experienced illness this week, which has interfered with their

ability to finalize the briefing due by February 28, 2025. Undersigned counsel emailed all defense

counsel and counsel for the Whitfield DA at 1:17 p.m. on February 27, 2025, to request a seven-day

extension to file their briefing. The Whitfield DA’s counsel indicated he did not object to the short




          1 Since filing the Motion, Plaintiffs have continued to confer with GBI and have come to an agreement

regarding the disclosure of responsive documents pending the entry of a protective order. See ECF 73, 75, 79. Plaintiff
has requested a conference with the Court via a letter to chambers to address the various outstanding issues associated
with that subpoena and the current status of discovery. The instant motion is limited to the current discovery dispute
between Plaintiffs and the Whitfield DA.

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extension and no other counsel raised an objection. There is good cause to extend this deadline, and

this motion is not brought in bad faith or to cause delay.

       Wherefore, Plaintiffs respectfully request this Court allow the Plaintiffs seven additional days

to file a Reply re Plaintiffs’ Motion to Compel and a Response to the Whitfield DA’s Motion to

Quash such that they are due on March 7, 2025.

                                               /s/ Sam Harton
                                               One of Plaintiff’s Attorneys
                                               Romanucci and Blandin, LLC
                                               Sam Harton (pro hac vice)
                                               Bhavani Raveendran (pro hac vice)
                                               321 N. Clark St. Chicago, IL 60654
                                               Tel: (312) 458-1000
                                               Fax: (312) 458-1004
                                               Email: braveendran@rblaw.net
                                               Email: sharton@rblaw.net

                                               Harold Boone, Jr.
                                               The Boone Firm, P.C.
                                               100 Hartsfield Center Parkway
                                               Suite 100
                                               Atlanta, GA 30354
                                               (470) 765-6899 (phone)
                                               (470) 745-6047 (fax)




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